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                             UNITED STATES DISTRICT COURT
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                                  DISTRICT OF NEVADA
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     UNITED STATES OF AMERICA,
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            Plaintiff,                                 Case No. 2:10-cr-547-RLH-GWF-14
11
     vs.                                               ORDER
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     SHANNON WALKER,
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            Respondents.
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                    On February 22, 2012, Defendant SHANNON WALKER appeared before this
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     Court for imposition of sentence. Ms. Walker was sentenced to Time Served followed by a three-
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     year term of supervised release. As a condition of release, Ms. Walker was ordered to reside in the
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     halfway house for a period of three (3) months.
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                    ACCORDINGLY, IT IS HEREBY ORDERED SHANNON WALKER shall
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     report to the halfway house as directed by Probation. IT IS FURTHER ORDERED Defendant
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     shall abide by all conditions imposed by the halfway house and all other conditions of her
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     supervised release.
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     DATED: February 22, 2012
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26                                                               ROGER L. HUNT
                                                                 United States District Judge
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